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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF FLORIDA

IN RE: CASE NO.: 14-15011-BKC-LMI
PROCEEDING UNDER CHAPTER 13

HUGO FERNANDO NUNEZ

MEDINA

DEBTORS /

 

NOTICE OF DEPOSIT OF FUNDS WITH
THE UNITED STATES BANKRUPTCY COURT CLERK

 

NOTICE IS HEREBY GIVEN THAT:

The Trustee has a balance of $6,541.11 remaining in her bank account which represents unpresented checks drawn and
mailed to debtor(s)/creditor(s) in the above named case. Your trustee has made a good faith effort to verify the correct
mailing address for said debtors(s)/creditor(s) and deliver the funds before pressenting this notice. More than sufficient

time has passed for these checks to be presented for payment, or the creditor has returned funds indicating they refuse the
funds.

Attached and made a part of this notice, is a list, pursuant to FRBP 3011, of the names, claim numbers and addresses of
the debtor(s)/creditor(s) and the amounts to which each is entitled.

WHEREFORE, your Trustee hereby gives notice that the above-stated sum has been deposited with the Clerk of the
United States Bankruptcy Court, Southern District of Florida, to effect closing this estate.

Date: Co- I¢-| © L nae Liles
papenere ESQUIRE
wrdpneren 13 TRUSTEE
Srxoox 9806

MIRAMAR, FL 33027-9806
COPIES FURNISHED TO:

 

HUGO FERNANDO NUNEZ HUGO FERNANDO NUNEZ MEDINA
MEDINA 7563 SW 188 TER
CARMEN YOLANDA LOPEZ DE MIAMI, FL 33157

MICHAEL A. FRANK, ESQUIRE
UNION PLANTERS BNK BLDG #620
10 NW LEJEUNE RD

MIAMI, FL 33126-5431

U.S. TRUSTEE
518.W. IST AVENUE
MIAML FL 33130

 
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NOTICE OF DEPOSIT OF FUNDS
CASE NO.: 14-15011-BKC-LMI

ATTACHMENT
NOTICE OF DEPOSIT OF FUNDS WITH THE
UNITED STATES BANKRUPTCY COURT CLERK
ATTACHMENT - LISTING OF CLAIMANT
CASE NO.: 14-15011-BKC-LMI
HUGO FERNANDO NUNEZ MEDINA $6,541.11

7563 SW 188 TER
MIAMI, FL 33157

 
